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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

JOSEPH GONZALEZ,             §
                             §
    Plaintiff                §
                             §                         CIVIL ACTION NO. 4:24-CV-5049
vs.                          §
                             §
THE DOW CHEMICAL COMPANY and §                             JURY TRIAL DEMANDED
ROHM AND HAAS TEXAS, INC.,   §
                             §
    Defendants               §

                            SECOND AMENDED COMPLAINT

       Plaintiff Joseph Gonzalez (“Gonzalez”) files this Second Amended Complaint against The

Dow Chemical Company (“Dow”) and Rohm and Haas Texas, Inc. and would show as follows:

                                        THE PARTIES

       1.      Plaintiff Joseph Gonzalez is an individual residing in Harris County, Texas.

       2.      Defendant The Dow Chemical Company is a foreign for-profit corporation. Dow

may be served with process by serving its registered agent CT Corp. Systems at 1999 Bryan St.,

Ste. 900, Dallas, TX 75201-3136.

       3.      Defendant Rohm and Haas Texas, Inc. is a domestic for-profit corporation. Rohm

may be served with process by serving its registered agent CT Corp. Systems at 1999 Bryan St.,

Ste. 900, Dallas, TX 75201-3136.

       4.      Defendants Dow Chemical Company and Rohm and Haas Texas, Inc. are

collectively referred to herein as “Dow.”

                                JURISDICTION AND VENUE

       5.      Federal Question jurisdiction over Plaintiff’s Title VII and FMLA claims is

conferred on this Court by 28 U.S.C. § 1331 because this action arises under federal law, namely
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Title VII and FMLA. The Court also has supplemental jurisdiction over Plaintiff’s state-law

claims. 28 U.S.C. § 1367. The Court also has jurisdiction because the parties are diverse and the

amount in controversy exceeds $75,000. 28 U.S.C. § 1332(a).

        6.      The Court has venue over this matter because a substantial part of the events or

omissions giving rise to Plaintiff’s claims occurred in this district, many of the unlawful

employment practices alleged in this case occurred in this district, and there are employment

records relevant to Plaintiff’s claims maintained and administered by Defendant in this District.

28 U.S.C. § 1391(b); 42 U.S.C. § 12117(a); 42 U.S.C. § 2000e-5(f)(3).

                           CONDITIONS PRECEDENT AND
                     EXHAUSTION OF ADMINISTRATIVE REMEDIES

        7.      Plaintiff timely filed a charge of discrimination with the EEOC and the Texas

Workforce Commission. The EEOC mailed Plaintiff a right-to-sue letter giving Plaintiff ninety

days to file suit. Plaintiff has filed this lawsuit within those 90 days.

        8.      All conditions precedent to Plaintiff’s claim for relief have been performed or have

occurred.

                                          BACKGROUND

        9.      Gonzalez was a long-term employee of Dow.

        10.     Gonzalez worked for Dow since 2014. He started as an Operator.

        11.     In 2018, Dow promoted Gonzalez to HR Operations Turnaround Coordinator.

        12.     In November 2021, Gonzalez was diagnosed with Stage IV colon cancer.

        13.     In December 2021, Gonzalez underwent surgery for gastrointestinal perforation. A

Ostomy bag was installed, and he began chemotherapy.

        14.     Gonzalez would continue to work while undergoing cancer treatment.
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       15.     In April 2023, while continuing to battle cancer that had now metastasized to his

liver, Gonzalez’s boss, Wargo, told him that Dow would soon be laying people off.

       16.     Wargo told Gonzalez that his position was being eliminated.

       17.     Wargo claimed that Gonzalez’s termination was not performance based but that

Gonzalez was behind the curve due to his cancer.

       18.     In May 2023, Wargo again told Gonzalez that he was being terminated because of

his cancer.

       19.     Gonzalez would later learn that his position was had not been eliminated. Instead

of eliminating Gonzalez’s position, Dow placed Clint Davis, a nondisabled employee, into the

position.

       20.     During all times relevant to this lawsuit, Gonzalez was in need of various

accommodations and FMLA leave.

       21.     To date, Gonzalez has applied to numerous positions within Dow that Gonzalez is

qualified for, but Dow refuses to place him into any of these positions without explanation.

                                     CAUSES OF ACTION

                              Cause 1: Disability Discrimination

       22.     Each and every allegation contained above is realleged as if fully written herein.

       23.     Defendant, by and through its agents and employees, engaged in unlawful disability

discrimination.

       24.     The actions set forth above, as well as other facts that will be developed through

discovery, violate the law.

       25.     Defendant wrongfully discharged Plaintiff or at least refused to permit him to return

to work.
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        26.    Plaintiff has suffered damages as a result of the disability discrimination, and seeks

all relief allowed by law.

        27.    Defendant engaged in the discrimination and/or the unlawful employment practices

described above with malice and/or with reckless indifference to the statutorily-protected rights of

Plaintiff.

                                      Cause 2: Retaliation

        28.    Each and every allegation contained above is realleged as if fully written herein.

        29.    Gonzalez engaged in protected activity on numerous occasions including when he

requested accommodations.

        30.    Defendant, by and through its agents and employees, retaliated against Gonzalez

for requesting accommodations and/or requesting.

        31.    Defendant engaged in the discrimination and/or the unlawful employment practices

described above with malice and/or with reckless indifference to the statutorily-protected rights of

Plaintiff.

                       Cause 3: FMLA Interference (Alternative Claim)

        32.    Each and every allegation contained above is realleged as if fully written herein.

        33.    Per the FMLA, Gonzalez was entitled to FMLA leave to care for himself to address

his own serious health condition.

        34.    Defendant, by and through its agents and employees, interfered with Gonzalez’s

entitlement to FMLA leave.

        35.    Defendant did not give Gonzalez all the FMLA leave he was entitled.
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         36.     Defendant would interfere with Gonzalez’s FMLA leave by making him when he

should not have been. For example, Defendant required Gonzalez to work at times from his

hospital bed.

         37.     Defendant’s decision to terminate Gonzalez was motivated by issues related to

FMLA leave.

               Cause 4: FMLA Retaliation and Discrimination (Alternative Claim)

         38.     Each and every allegation contained above is realleged as if fully written herein.

         39.     Per the FMLA, Defendant was prohibited from retaliating and discriminating

against an employee for taking or needing FMLA leave.

         40.     Gonzalez was protected under the FMLA.

         41.     Gonzalez was treated less favorably than others who had not requested FMLA

leave.

         42.     Defendant, by and through its agents and employees, retaliated and/or

discriminated against Gonzalez for issues that should have been protected as FMLA leave.

         43.     Defendant’s decision to terminate Gonzalez was motivated by issues related to

FMLA leave.

                    PLAINTIFF IS ENTITLED TO PUNITIVE DAMAGES

         44.     Plaintiff would show that the acts and omissions of the Defendant were intentional,

or were willful and malicious, or were in heedless and reckless disregard for the rights of Plaintiff

and showed such utter and callous indifference and conscious disregard of the rights of Plaintiff

as to constitute malice or gross negligence and be a proximate cause of the resulting damages and

injuries sustained by Plaintiff. Further, Defendant’s actions in terminating Plaintiff indicate malice

towards Plaintiff and Defendant should be punished by an award of punitive damages. Thus,
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Plaintiff is entitled to recover punitive damages against Defendant because they acted with malice

or, at least, with reckless and/or conscious indifference as contemplated by Section 21.2585 of the

Texas Labor Code, Title VII, and 42 U.S. Code § 1981a.

                                      ATTORNEY’S FEES

       45.     Each and every allegation contained above is realleged as if fully written herein.

       46.     Cerda is entitled to recover attorney’s fees and costs for bringing this action.

                                        JURY DEMAND

       47.     Plaintiff makes a formal demand for a jury trial in this matter.

                                            PRAYER

       Plaintiff asks that the Court issue a summons for Defendant to appear and answer, and that

Plaintiff be awarded a judgment against Defendant for the following:

               a.     Back pay wages;

               b.     Front pay wages;

               c.     Liquidated damages;

               d.     Compensatory damages;

               e.     Punitive damages;

               f.     Pre-judgment and post-judgment interest;

               g.     Court costs;

               h.     Reasonable attorneys’ fees; and

               i.     All other relief to which Plaintiff show themselves to be entitled.



                                                          Respectfully submitted,

                                                          THE CRAIGHEAD LAW FIRM, PLLC


                                                  By:     /s/ Clayton D. Craighead
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                                                         ATTORNEY-IN-CHARGE FOR PLAINTIFF



                                CERTIFICATE OF SERVICE

        I hereby certify that on this 30th day of April, 2025, I electronically filed and served the
foregoing document, with the Clerk of Court using the CM/ECF system which will send
notification of such filing to the following:

       Amanda May Fielder       afielder@wnj.com

       Brittainie Jonette Zinsmeyer     bzinsmeyer@jlcfirm.com

       Edward J. Bardelli     ebardelli@wnj.com, djakubowski@wnj.com

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                                                             /s/ Clayton D. Craighead
                                                             Clayton D. Craighead
